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                 Exhibit A
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     ECF       Category            Document            Description of Expenses        Expenses and
      No.                          Identifiers                and Costs                  Costs 1
     448-1
    Page 3    Office          VAT Invoice No.          Purchase of two image          RMB 1,969
              Equipment       68269607                 projectors, i.e., BenQ         (~$276.90)
                                                       Business Image Projectors

    Page 4    Office          301-23 (dated            Purchase office equipment  RMB 1001.60
              Equipment       7/10/2019)                                          (~$140.87)
    Page 5    Office          Purchase Receipt         Purchase Lock cylinder     RMB 80.00
              Equipment       No. 2285793              for office door            (~$11.25)
    Page 6    Office          VAT Invoice No.          Purchase of one metal safe RMB 689
              Equipment       72643556                 box for storing            (~$96.90)
                                                       documents, corporate
                                                       seals, and registration
                                                       documents
    Page 7    Office          VAT Invoice No.          Purchase of desktop        RMB 60
              Equipment       70820880                 folders for collecting     (~$8.43)
                                                       documents
    Page 8    Office          VAT Invoice No.          Purchase of pens and       RMB 102.60
              Equipment       47782574                 other office equipment     (~$14.43)

    Page 9    Office          VAT Invoice No.          Purchase of a printer, i.e.,   RMB 2,498.97
              Equipment       59168522                 HP M2 4-in-1 Laser             (~$351.47)
                                                       Printer

    Page 10   Office          VAT Invoice No.          Purchase of a safe box for     RMB 2,288
              Equipment       07739999                 storing documents,             (~$321.80)
                                                       corporate seals, and
                                                       registration documents
    Page 11   Office          VAT Invoice No.          Payment to the vendor for      RMB 300
              Maintenance     82302984                 the installment of the glass   (~$40.96)
                                                       door for LKM WFOE’s
                                                       office
    Page 12   Office          VAT Invoice No.          Purchase of office folders     RMB 7.50
              Equipment       03961481                 (two folders in one set)       (~$1.01)
    Page 13   Office          VAT Invoice No.          Purchase of one package        RMB 16.90
              Equipment       00745725                 of label/tab                   (~$2.37)

    Page 14   Office          VAT Invoice No.          Purchase of two locks for      RMB 88.98
              Maintenance     09357620                 LKM WOFE’s office              (~$12.51)
    Page 15   Office          VAT Invoice No.          Purchase of two packages       RMB 44
              Equipment       09373724                 of printing papers             (~$6.18)

1
 The average exchange rate between RMB and USD in 2019 was 1 USD = 7.11 RMB. The average exchange rate
between HKD and USD in 2019 was 1 USD = 7.83 HKD.
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Page 16   Office      VAT Invoice No.    Purchase of hard disk         RMB 43.40
          Equipment   06255791           (USB) and folders for         (~$6.10)
                                         documents
Page 17   Office      VAT Invoice No.    Purchase of one metal safe    RMB 679
          Equipment   06995803           box for storing               (~$95.49)
                                         documents, corporate
                                         seals, and registration
                                         documents
Page 18   Office      301-23 dated       Purchase Lenovo Laptop        RMB 8,497.97
          Equipment   8/6/2019           (ThinkPad E480) 2             (~$1,195.21)
Page 19   Office      VAT Invoice No     Purchase of two Lenovo        RMB 8,497.97
          Equipment   09525503           laptops for LKM WOFE’s        (~$1,057.71)
                                         use.
Page 20   Office      VAT Invoice No     Purchase of file folders,     RMB 218.70
          Equipment   03968084           printing papers, staplers,    (~$30.75)
                                         and notebooks
Page 21   Office      Purchase Receipt   Purchase of the following:    RMB 193.53
          Equipment   1100191130                                       (~$27.22)
                                            •   Stationery, refills
                                                10pcs, file box,
                                                plastic box A1249-
                                                10, blue, office
                                                supplies
                                            •   Modern services,
                                                refundable service
                                                fees
                                            •   Stationery, 10 A4
                                                colorful
                                                transparent file
                                                bags
                                            •   Stationery, 20 x
                                                0.5mm grease
                                                pencils, EB35
                                            •   Stationery, 12pcs
                                                A4 waterproof file
                                                bag PP material
                                            •   Stationery, office
                                                supplies, office
                                                stapler sets,
                                                staplers and staples
                                            •   Print, A5, 122
                                                sheets Business
                                                Notebook
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Page 22   Office        VAT Invoice No   Purchase of two desktops     RMB 5,998
          Equipment     9526378          for LKM WOFE’s use,          (~$843.60)
                                         Dell, Chengzhi 8430
Page 23   Office        VAT Invoice No   Purchase of one              RMB 9,885
          Equipment     05085102         cellphone, one keyboard,     (~$1,390.29)
                                         and one laptop for LKM
                                         WOFE’s use
Page 24   Office        VAT Invoice No   Purchase of two              RMB 4,400
          Equipment     13737279         conference tables and one    (~$618.84)
                                         working table for LKM
                                         WOFE’s office
Page 25   Office        VAT Invoice No   Purchase of three boxes of   RMB 104.70
          Maintenance   55851430         water for LKM WOFE’s         (~$14.72)
                                         office
Page 26   Office        VAT Invoice No   Purchase of two Notebook     RMB 113.60
          Maintenance   13793391         packages and a package of    (~$15.97)
                                         ballpoint pens
Page 27   Office        VAT Invoice No   Purchase of one box of       RMB 92
          Maintenance   11803673         printing papers              (~$12.92)
Page 28   Office        VAT Invoice No   Purchase of one unit of      RMB 105
          Maintenance   09707873         printer cartridge            (~$14.76)
Page 29   Office        VAT Invoice No   Purchase of two packages     RMB 21
          Maintenance   56808850         of printing papers           (~$2.95)
Page 30   Office        VAT Invoice No   Purchase of office           RMB 170.90
          Maintenance   71680857         equipment, e.g., pens,       (~$24.03)
                                         printing papers, stapler,
                                         etc.
Page 31   Office        VAT Invoice No   Purchase of one box of       RMB 57.80
          Maintenance   73186404         water for LKM WOFE’s         (~$8.12)
                                         office
Page 32   Office        VAT Invoice No   Purchase of one electric     RMB 95
          Maintenance   76918862         kettle for LKM WOFE’s        (~$13.36)
                                         office
Page 33   Office        VAT Invoice No   Purchase of one printer      RMB 138.98
          Equipment     90707352         cartridge, i.e., HP          (~$19.54)
                                         Gezhishang CF 230,
                                         MF227 (MT-P0230C)
Page 34   Office        VAT Invoice No   Purchase of lock for LKM     RMB 30.00
          Maintenance   39834680         WOFE’s office door           (~$4.21)
Page 35   Office        VAT Invoice No   Purchase of three boxes of   RMB 104.70
          Maintenance   04622552         water for LKM WOFE’s         (~$14.72)
                                         office
Page 36   Office Rent   VAT Invoice No   Payment to Beijing Cloud     RMB 100,000
                        14186274         Valley Technology            (~$14,064.69)
                                         Development Co., Ltd (the
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                                         landlord) for LKM
                                         WOFE’s office rent
Page 37   Office Rent   VAT Invoice No   Payment to Beijing Cloud    RMB
                        14186275         Valley Technology           35,493.48
                                         Development Co., Ltd (the   (~$4,992.05)
                                         landlord) for LKM
                                         WOFE’s office rent
Page 38   Office Rent   Receipt No.      Deposit for rent office     RMB 135,493
                        7011404          space                       (~$19,056.60)
Page 39   Office        VAT Invoice No   Payment to Shunfeng         RMB 13.00
          Equipment     37546824         Express Delivery            (~$1.72)
                                         Company for shipping
                                         documents
Page 40   Office        VAT Invoice No   Payment to Beijing          RMB 1,250
          Maintenance   05976744         Hengrui Zhuoao              (~$175.80)
                                         Renovation Company for
                                         office space renovation
                                         services
Page 41   Office Rent   VAT Invoice No   Payment to Beijing Cloud    RMB 100,000
                        03361021         Valley Technology           (~$14,064.69)
                                         Development Co., Ltd (the
                                         landlord) for LKM
                                         WOFE’s office rent
Page 42   Office Rent   VAT Invoice No   Payment to Beijing Cloud    RMB
                        03361022         Valley Technology           35,493.48
                                         Development Co., Ltd (the   (~$4,992.05)
                                         landlord) for LKM
                                         WOFE’s office rent
Page      Office        VAT Invoice No   Payment to Beijing          RMB 839.42
43-44     Maintenance   0382405          Zhongguancun Hongjia        (~$118.06)
                                         Property Management
                                         company for LKM
                                         WOFE’s utility bills
                        Receipt No.      Electricity 6.14-8.18
                        0083904
Page 45   Office        VAT Invoice No   Payment to Beijing          RMB 84.27
          Maintenance   06895692         Zhongguancun Hongjia        (~$11.85)
                                         Property Management
                                         company for LKM
                                         WOFE’s water bills
Page 46   Office        VAT Invoice No   Payment to Beijing          RMB 396.34
          Maintenance   03828649         Zhongguancun Hongjia        (~$55.74)
                                         Property Management
                                         company for LKM
                                         WOFE’s electricity bills
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Page 47   Office        VAT Invoice No   Payment to Beijing           RMB 66.78
          Maintenance   03828637         Zhongguancun Hongjia         (~$9.39)
                                         Property Management
                                         company for LKM
                                         WOFE’s water bills
Page 48   Office        VAT Invoice No   Purchase of telephone        RMB 623.88
          Equipment     14716008         landlines and telephone      (~$87.74)
                                         services for LKM WOFE
Page 49   Office        VAT Invoice No   Purchase of internet         RMB 24,000
          Equipment     14716009         services for LKM WOFE        (~$3,184.45)
Page 50   Office        VAT Invoice No   Purchase of office           RMB 8,820.00
          Equipment     05320189         equipment related to         (~$1,240.50)
                                         internet service, e.g.,
                                         wireless machine,
                                         exchange machine, and
                                         installment service fees

Page 51   Office Rent   VAT Invoice      Payment to Beijing Cloud     RMB
                        No. 05487253     Valley Technology            100,000.00
                                         Development Co., Ltd (the    (~$14,064.69)
                                         landlord) for LKM
                                         WOFE’s office rent
Page 52   Office Rent   VAT Invoice No   Payment to Beijing Cloud     RMB
                        05487254         Valley Technology            35,493.48
                                         Development Co., Ltd (the    (~$4,992.05)
                                         landlord) for LKM
                                         WOFE’s office rent
Page 53   Business      VAT Invoice No   Payment to Shenzhen          RMB 4,034.00
          Meeting       64985052         Building Co., Ltd for food   (~$567.36)
                                         services related to
                                         business meetings
Page 54   Business      VAT Invoice No   Payment to Beijing Xisha     RMB 552.00
          Meeting       49010781         Road Food Company for        (~$77.63)
                                         food services related to
                                         team internal meeting.
Page 55   Travel        VAT Invoice No   Payment to Beijing           RMB 10,000
          Expenses      40034680         Sanlitun Hotel for hotel     (~$1,406.46)
                                         expenses (stay) related to
                                         my travel to Beijing in
                                         connection with LKM
                                         WOFE meetings or legal
                                         proceedings.
Page 56   Travel        VAT Invoice No   Payment to Beijing           RMB 913
          Expenses      14891067         Sanlitun Hotel for hotel     (~$128.41)
                                         expenses (food services
                                         and room maintenance
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                                       services) related to my
                                       travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 57   Travel     VAT Invoice No    Payment to Beijing            RMB 10,000
          Expenses   40034679          Sanlitun Hotel for hotel      (~$1,406.46)
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 58   Travel     VAT Invoice No    Payment to Beijing            RMB 10,000
          Expenses   No. 40034680      Sanlitun Hotel for hotel      (~$1,406.46)
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 59   Travel     VAT Invoice No    Payment to Beijing            RMB 10,000
          Expenses   40034681          Sanlitun Hotel for hotel      (~$1,406.46)
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 60   Travel     VAT Invoice No    Payment to Beijing            RMB 847.90
          Expenses   14891066          Sanlitun Hotel for hotel      (~$119.25)
                                       expenses (food services
                                       and room maintenance
                                       services) related to my
                                       travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 61   Travel     VAT Invoice No    Payment to Beijing LiYi       RMB 4,552
          Expenses   07457192          Hotel for hotel expenses      (~$640.22)
                                       (stay) related to my travel
                                       to Beijing in connection
                                       with LKM WOFE
                                       meetings or legal
                                       proceedings
Page 62   Travel     VAT Invoice No    Payment to Beijing            RMB
          Expenses   09548484          TongYing Hotel for hotel      22,581.91
                                       expenses (stay) related to    (~$3,176.07)
                                       my travel to Beijing in
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                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 63   Office      VAT Invoice No   Payment to Biying            RMB 220
          Equipment   55998653         Express Delivery             (~$30.94)
                                       company for shipping
                                       documents
Page 64   Office      VAT Invoice No   Payment to Shunfeng          RMB 26
          Equipment   37827665         Express Delivery             (~$3.65)
                                       company for shipping
                                       documents
Page      Office      VAT Invoice No   Payment to Shunfeng          RMB 9
65-66     Equipment   37171976         Express Delivery             (~$13.50)
                                       company for shipping
                                       documents and shipping
                                       records
Page 67   Travel      VAT Invoice No   Payment to Beijing           RMB 5,719.36
          Expenses    04983191         Zhongguancun Crowne          (~$804.41)
                                       Plaza Hotel for hotel
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 68   Office      301-23 (dated    Service Fees for Daily Top   RMB 600
          Equipment   7/2/2019)        (newspapers)                 (~$84.38)
Page 69   Office      VAT Invoice No   Payment for maintenance      RMB 600
          Equipment   56238076         services related to office   (~$84.38)
                                       internet
Page 70   Travel      TAXI Invoice     Taxi service for travel      RMB 26
          Expenses    65650952                                      (~$3.65)
Page 71   Travel      VAT Invoice No   Payment to Beijing Beida     RMB 15,984
          Expenses    17968485         Boya Hotel for hotel         (~$2,248.10)
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page 72   Travel      VAT Invoice No   Payment to Beijing Beida     RMB 1,463.81
          Expenses    54734314         Boya Hotel for hotel         (~$205.88)
                                       expenses (food services
                                       and room maintenance
                                       services) related to my
                                       travel to Beijing in
                                       connection with LKM
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                                       WOFE meetings or legal
                                       proceedings
Page 73   Office      VAT Invoice No   A fixed VAT invoice          RMB 10
          Equipment   20449005         issued by “China Post        (~$1.40)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page 74   Office      VAT Invoice No   A fixed VAT invoice          RMB 10
          Equipment   20449004         issued by “China Post        (~$1.40)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page 75   Office      VAT Invoice No   A fixed VAT invoice          RMB 10
          Equipment   20449003         issued by “China Post        (~$1.40)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page 76   Office      VAT Invoice No   A fixed VAT invoice          RMB 5
          Equipment   92911003         issued by “China Post        (~$0.70)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page 77   Travel      TAXI Invoice     Taxi service for travel      RMB 43
          Expenses    68230761                                      (~$6.04)
Page 78   Travel      VAT Invoice No   Payment to Beijing           RMB
          Expenses    98081594         Capital Airport Hotel for    1,170.70.
                                       hotel expenses (stay)        (~$164.65)
                                       related to my travel to
                                       Beijing in connection with
                                       LKM WOFE meetings or
                                       legal proceedings
Page 79   Travel      VAT Invoice No   Payment to Beijing           RMB 1,399.20
          Expenses    01845596         Capital Airport Hotel for    (~$196.79)
                                       hotel expenses (stay)
                                       related to my travel to
                                       Beijing in connection with
                                       LKM WOFE meetings or
                                       legal proceedings
Page 80   Travel      VAT Invoice No   Payment to Beijing           RMB 3,120.22
          Expenses    01845596         Capital Airport Hotel for    (~$438.84)
                                       hotel expenses (stay)
                                       related to my travel to
                                       Beijing in connection with
                                       LKM WOFE meetings or
                                       legal proceedings
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Page 81   Travel      VAT Invoice No     Payment to Beijing            RMB
          Expenses    03605943           Friendship Hotel for hotel    15,702.10
                                         expenses (stay) related to    (~$2,208.46)
                                         my travel to Beijing in
                                         connection with LKM
                                         WOFE meetings or legal
                                         proceedings
Page      Travel      Bill No. 4643463   Hotel bills between           RMB
82-83     Expenses                       8.26.2019 and 9.6.2019        16,939.10
                                         including “room rate,”        (~$2,382.43)
                                         “cafeteria,” “laundry,” and
                                         restaurants cost”
Page 84   Office      VAT Invoice No     Payment to Shunfeng           RMB 26
          Equipment   68612961           Express Delivery              (~$3.65)
                                         company for shipping
                                         documents
Page 85   Office      301-23 (dated      Express delivery fees         RMB 119
          Equipment   9/9/2019)                                        (~$16.73)
Page 86   Office      VAT Invoice No     Payment to Shunfeng           RMB 15
          Equipment   69362147           Express Delivery              (~$2.10)
                                         company for shipping
                                         documents
Page 87   Office      VAT Invoice No     Payment to Shunfeng           RMB 13
          Equipment   69214501           Express Delivery              (~$1.82)
                                         company for shipping
                                         documents
Page 88   Office      VAT Invoice No     Payment to Shunfeng           RMB 13
          Equipment   37546824           Express Delivery              (~$1.82)
                                         company for shipping
                                         documents
Page 89   Office      VAT Invoice No     Payment to Biying             RMB 36
          Equipment   18512928           Express Delivery              (~$5.06)
                                         company for shipping
                                         documents
Page 90   Office      VAT Invoice No     A fixed VAT invoice           RMB 50
          Equipment   21349280           issued by “China Post         (~$7.03)
                                         Office Express Delivery
                                         Co., Ltd.”
Page 91   Office      301-23 (dated      Express delivery fees and     RMB 186
          Equipment   9/9/2019)          travel expenses               (~$26.16)
Page 92   Office      VAT Invoice No     Payment to Biying             RMB 46
          Equipment   18112517           Express Delivery              (~$6.46)
                                         company for shipping
                                         documents
Page 93   Travel      TAXI Invoice       Taxi service for travel       RMB 31
          Expenses    95630612                                         (~$4.36)
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                      TAXI Invoice                                   RMB 50
                      95630613                                       (~$7.03)

                      TAXI Invoice                                   RMB 47
                      [covered]892                                   (~$6.60)
Page 94   Travel      TAXI Invoice      Taxi service for travel      RMB 63
          Expenses    23412960                                       (~$8.86)
Page 95   Travel      TAXI Invoice      Taxi service for travel      RMB 60
          Expenses    16607903                                       (~$8.43)
Page 96   Travel      TAXI Invoice      Taxi service for travel      RMB 31
          Expenses    10272561                                       (~$4.36)

                      TAXI Invoice                                   RMB 43
                      [covered]97119                                 (~$6.04)
Page 97   Travel      TAXI Invoice      Taxi service for travel      RMB 43
          Expenses    07997119                                       (~$6.04)

                      TAXI Invoice                                   RMB 43
                      [covered]060476                                (~$6.04)
Page 98   Travel      TAXI Invoice      Taxi service for travel      RMB 22
          Expenses    70060475                                       (~$3.09)
Page 99   Travel      301-23 (dated     Travel expenses for Lilin    RMB 11,075
          Expenses    9/26/2019)        Guo                          (~$1,557.66)
Page      Travel      VAT Invoice No    Payment to Beijing           RMB 603
100       Expenses    29939011          Huraerdaofu Hotel for        (~$84.81)
                                        hotel expenses (food
                                        services and room
                                        maintenance services)
                                        related to my travel to
                                        Beijing in connection with
                                        LKM WOFE meetings or
                                        legal proceedings
Page      Travel      VAT Invoice No    Payment to Beijing           RMB 10,472
101       Expenses    04080631          Huraerdaofu Hotel for        (~$1,472.85)
                                        hotel expenses (stay)
                                        related to my travel to
                                        Beijing in connection with
                                        LKM WOFE meetings or
                                        legal proceedings
Page      Office      301-23 (dated     Express delivery fees        RMB 232
102       Equipment   7/10/2019)                                     (~$32.63)
Page      Office      VAT Invoice No    A fixed VAT invoice          RMB 2
103       Equipment   20326314          issued by “China Post        (~$0.28)
                                        Office Express Delivery
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                                       Co., Ltd.” for express
                                       delivery service
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 13
104     Equipment    11994153          Express Delivery          (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 14
105     Equipment    18575154          Express Delivery          (~$1.96)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 13
106     Equipment    11252913          Express Delivery          (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    A fixed VAT invoice       RMB 50
107     Equipment    21349282          issued by “China Post     (~$7.03)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 18
108     Equipment    18239526          Express Delivery          (~$2.53)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 13
109     Equipment    03222855          Express Delivery          (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng       RMB 13
110     Equipment    11230239          Express Delivery          (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    A fixed VAT invoice       RMB 50
111     Equipment    21407110          issued by “China Post     (~$7.03)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page    Office       VAT Invoice No    Payment to Biying         RMB 46
112     Equipment    18168816          Express Delivery          (~$6.46)
                                       company for shipping
                                       documents
Page    Office       301-23 (dated     Express delivery fees     RMB 232
113     Equipment    10/10/2019)                                 (~$32.63)
Page    Office       VAT Invoice No    A fixed VAT invoice       RMB 2
114     Equipment    20326314          issued by “China Post     (~$0.28)
                                       Office Express Delivery
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                                       Co., Ltd.” for express
                                       delivery service
Page    Office       VAT Invoice No    A fixed VAT invoice        RMB 50
115     Equipment    21407110          issued by “China Post      (~$7.03)
                                       Office Express Delivery
                                       Co., Ltd.” for express
                                       delivery service
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 13
116     Equipment    11252913          Express Delivery           (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 13
117     Equipment    03222855          Express Delivery           (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 13
118     Equipment    18239526          Express Delivery           (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 14
119     Equipment    18575154          Express Delivery           (~$1.96)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying          RMB 46
120     Equipment    18168816          Express Delivery           (~$6.46)
                                       company for shipping
                                       documents
Page    Office       301-23 (dated     Travel expenses and TAXI   RMB 26
121-122 Equipment    10/10/2019)       invoices for travel        (~$3.65)

                     TAXI Invoice
                     65650952
Page    Office       301-23 (dated     Express delivery fees      RMB 163
123     Equipment    11/8/2019)                                   (~$22.92)
Page    Office       VAT Invoice No    Payment to Biying          RMB 46
124     Equipment    50038545          Express Delivery           (~$6.46)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 32
125     Equipment    56695980          Express Delivery           (~$4.50)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying          RMB 36
126     Equipment    19031270          Express Delivery           (~$5.06)
                                       company for shipping
                                       documents
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Page    Office       VAT Invoice No    Payment to Biying          RMB 36
127     Equipment    50036865          Express Delivery           (~$5.06)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 13
128     Equipment    57518117          Express Delivery           (~$1.82)
                                       company for shipping
                                       documents
Page    Office       301-23 (dated     Express delivery fees      RMB 216
129     Equipment    11/8/2019)                                   (~$30.37)
Page    Office       VAT Invoice No    Payment to Shunfeng        RMB 14
130     Equipment    22273928          Express Delivery           (~$1.96)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    A fixed VAT invoice        RMB 50
131     Equipment    21407413          issued by “China Post      (~$7.03)
                                       Office Express Delivery
                                       Co., Ltd.”
Page    Office       VAT Invoice No    Payment to Biying          RMB 36
132     Equipment    19021006          Express Delivery           (~$5.06)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying          RMB 52
133-134 Equipment    19025927          Express Delivery           (~$7.31)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying          RMB 26
135     Equipment    19000492          Express Delivery           (~$3.65)
                                       company for shipping
                                       documents
Page    Travel       TAXI Invoice      Taxi service for travel    RMB 50
136     Expenses     445049026                                    (~$7.03)

                     TAXI Invoice                                 RMB 109
                     11480177                                     (~$15.33)

                     TAXI Invoice                                 RMB 47
                     [covered]2557                                (~$6.61)
Page    Travel       VAT Invoice No    Payment to Beijing Beida   RMB 724.41
137     Expenses     55219148          Boya Hotel for hotel       (~$101.88)
                                       expenses (food services
                                       and room maintenance
                                       services) related to my
                                       travel to Beijing in
                                       connection with LKM
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                                       WOFE meetings or legal
                                       proceedings
Page    Travel       VAT Invoice No    Payment to Beijing Beida     RMB 5,388
138     Expenses     09077823          Boya Hotel for hotel         (~$757.80)
                                       expenses (stay) related to
                                       my travel to Beijing in
                                       connection with LKM
                                       WOFE meetings or legal
                                       proceedings
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 13
139     Equipment    57772690          Express Delivery             (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying            RMB 36
140     Equipment    50051567          Express Delivery             (~$5.06)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 11
141     Equipment    577685138         Express Delivery             (~$1.54)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 13
142     Equipment    05949532          Express Delivery             (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 13
143     Equipment    05949532          Express Delivery             (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 13
144     Equipment    575806491         Express Delivery             (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Shunfeng          RMB 13
145     Equipment    05802725          Express Delivery             (~$1.82)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying            RMB 26
146     Equipment    50327486          Express Delivery             (~$3.65)
                                       company for shipping
                                       documents
Page    Office       VAT Invoice No    Payment to Biying            RMB 36
147     Equipment    50051568          Express Delivery             (~$5.06)
                                       company for shipping
                                       documents
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Page     Office         VAT Invoice No     Payment to Biying            RMB 36
148      Equipment      50051565           Express Delivery             (~$5.06)
                                           company for shipping
                                           documents
Page     Office         VAT Invoice No     A fixed VAT invoice          RMB 2
149      Equipment      20326311           issued by “China Post        (~$0.28)
                                           Office Express Delivery
                                           Co., Ltd.” for express
                                           delivery service
Page     Office         VAT Invoice No     Payment to Shunfeng          RMB 13
150      Equipment      05706259           Express Delivery             (~$1.82)
                                           company for shipping
                                           documents
Page     Office         VAT Invoice No     Payment to Shunfeng          RMB 13
151      Equipment      57734842           Express Delivery             (~$1.82)
                                           company for shipping
                                           documents
Page     Office         301-23 (dated      Travel expenses and office   RMB 168.50
152      Equipment      12/9/2019)         expenses                     (~$23.69)
Page     Office         VAT Invoice No     Purchase of three boxes of   RMB 103.50
153      Maintenance    56442130           water for LKM WOFE’s         (~$14.55)
                                           office
Page     Office         VAT Invoice No     Purchase of software         RMB 25
154      Equipment      40171385           application license          (~$3.50)
                                           (scanner)
Page     Travel         TAXI Invoice       Taxi service for travel      RMB 45
155      Expenses       51900871                                        (~$6.32)
Page     Professional   Receipt No.        Official Receipt issued by   HKD 43,600
156      Service        20190002           KLC Corporate Advisory       (~$5,568.32)
         (Legal)                           and Recovery Limited
                                           (HK co-receiver)
Page    Professional    Receipt No. RHN-   Legal service – W.K.TO       HKD 11,600
157-158 Service         191546             & Co Solicitors &            (~$1,481.48)
        (Legal)                            Notaries
Page    Professional    Receipt No. RHN-   Legal service – W.K.TO       HKD 30,000
159-160 Service         191547             & Co Solicitors &            (~$3,831.41)
        (Legal)                            Notaries
Page    Professional    VAT Invoice No     Payment to Shenzhen          RMB 2,200
161     Service         49557789           Ourdebao Translation         (~$309.42)
        (translation)                      company for translation
                                           services
Page     Professional   VAT Invoice No     Payment to Beijing Anjie     RMB 50,000
162      Service        14815353           Law Firm for legal service   (~$7,032.34)
         (Legal)
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Page    Professional    VAT Invoice No   Payment to Beijing Anjie   RMB 50,000
163     Service         14815352         Law Firm for legal service (~$7,032.34)
        (Legal)
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 100,000
164     Service         20026864         Dingye Law Firm for          (~$14,064.69)
        (Legal)                          legal service
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 100,000
165     Service         20026865         Dingye Law Firm for          (~$14,064.69)
        (Legal)                          legal service
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 100,000
166     Service         20026866         Dingye Law Firm for          (~$14,064.69)
        (Legal)                          legal service
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 14,400
167     Service         20026867         Dingye Law Firm for          (~$2,025.31)
        (Legal)                          legal service
Page    Professional    301-23 (dated    Reimbursement Form re:       RMB 100,000
168     Service         9/16/2019)       Tianchi Juntai Firm          (~$14,064.69)
        (Legal)                          attorney fees
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 50,000
169     Service         13105965         Tianchi Juntai Law Firm      (~$7,032.34)
        (Legal)                          for legal service
Page    Professional    301-23 (dated    Geping Law Firm legal        RMB 50,000
170     Service         9/18/2019)       service and consulting       (~$7,032.34)
        (Legal)                          fees
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 50,000
171     Service         10961440         Geping Law Firm for          (~$7,032.34)
        (Legal)                          legal service
Page    Professional    VAT Invoice No   Payment to Beijing Anjie     RMB 100,000
172     Service         02677593         Law Firm for legal service   (~$14,064.69)
        (Legal)
Page    Professional    VAT Invoice No   Payment to Beijing           RMB 50,000
173     Service         10961443         Geping Law Firm for          (~$7,032.34)
        (Legal)                          legal service
Page    Professional    VAT Invoice No   Payment to Beijing Anjie     RMB 100,000
174     Service         04298764         Law Firm for legal service   (~$14,064.69)
        (Legal)
Page    Professional    VAT Invoice No   Payment to Beijing Baijia    RMB 336
175     Service         22681340         Translation company for      (~$47.25)
        (translation)                    translation services
Page    Travel          VAT Invoice No   Payment to insurance         RMB 30
176     Expenses        17252477         company related to           (~$3.98)
                                         airplane tickets for
                                         attorneys
Page    Travel          VAT Invoice No   Payment to the agent for     RMB 2,248
177     Expenses        24395847         the purchase of airplane     (~$293.23)
                                         tickets for attorney
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                                        (related to Xinjiang NQ
                                        matter)
Page    Travel       VAT Invoice No     Payment to the agent for    RMB 1,220
178     Expenses     54018048           the purchase of airplane    (~$171.58)
                                        tickets for attorney
                                        (related to Xinjiang NQ
                                        matter)
Page    Travel       VAT Invoice        Payment to the agent for    RMB 38
179     Expenses     No. 26232508       the purchase of airplane    (~$5.34)
                                        tickets for attorney
                                        (related to Xinjiang NQ
                                        matter)
Page    Travel       TAXI Invoice       Taxi service for travel     [unable to see]
180     Expenses     93137002
Page    Travel       CA 1898 11/5       Gang Wang (Attorney)        N/A
181     Expenses                        airplane boarding pass
Page    Travel       CA 1897 11/3       Gang Wang (Attorney)        N/A
182     Expenses                        airplane boarding pass
Page    Travel       VAT Invoice        Payment to insurance        RMB 30
183     Expenses     No. 17252478       company related to          (~$4.21)
                                        airplane tickets for
                                        attorneys
Page    Company      Receipt No.        Payment to PRC Treasury     RMB
184     Operation    2019110620000115   for NetQin Infinity         11,118.89
                     1                  (Beijing) Technology Co.,   (~$1,563.83)
                                        Ltd’s outstanding tax
                                        liability
Page    Labor        301-23 (dated                                  RMB 3,312.23
185-186              12/7/2019)         Payment to PRC Treasury     (~$465.85)
                                        for NetQin Infinity
                     Receipt No.        (Beijing) Technology Co.,
                     201912103535561    Ltd’s outstanding tax
                                        liability
